         Case 5:18-cv-04826-BLF Document 55-6 Filed 03/17/22 Page 1 of 3




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6    Attorneys for CITY OF SAN JOSE and OFFICER
     MICHAEL PINA
7
8                            UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN JOSE DIVISION

11   JESSICA DOMINGUEZ, INDIVIDUALLY              Case Number: 5:18-cv-04826-BLF
     AND AS GUARDIAN AD LITEM FOR
12   JACOB DOMINGUEZ, JORDAN                      MANUAL FILING NOTIFICATION
     DOMINGUEZ AND JALIYAH
13   DOMINGUEZ,
                                                  Exhibits 1-5 to Declaration of Keith Neumer
14                     Plaintiffs,                ISO City of San Jose’s Motion for Summary
                                                  Judgment (Thumb Drive)
15               v.
16                                                Date:         April 21, 2022
     CITY OF SAN JOSE, SAN JOSE POLICE
     DEPARTMENT and DOE POLICE                    Time:         9:00 a.m.
17   OFFICERS 1, 2 AND 3, and DOES,               Room:         Courtroom 3, 5th Floor
     inclusive,                                   Judge:        Hon. Beth Labson Freeman
18
                       Defendants.                Trial Date:   August 22, 2022
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29                                           1
     MANUAL FILING NOTIFICATION                                      Case No. 5:18-cv-04826-BLF
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                                                                                       1895786
31
          Case 5:18-cv-04826-BLF Document 55-6 Filed 03/17/22 Page 2 of 3




1
              Regarding: Exhibits 1 through 5 to the Declaration of Keith Neumer in Support of
2
     Defendants’ Motion for Summary Judgment.
3
              Filing is in paper or physical form only, and is being maintained in the case file in
4
     the Clerk’s office. If you are a participant in this case, this filing will be served in hard-copy
5
     shortly. For information on retrieving this filing directly from the court, please see the
6
     court’s main web site at http:// www.cand.uscourts.gov under Frequently Asked Questions
7
     (FAQ).
8
              This filing was not efiled for the following reason(s):
9
              [__] Voluminous Document (PDF file size larger than the efiling systems allows)
10
              [__] Unable to Scan Documents
11
              [__] Physical Object (description):
12
              [XX] Non-Graphic/Text Computer File (audio, video, etc.) on CD or other media
13
              [__] Item Under Seal in Criminal Case
14
              [__] Conformance with the Judicial Conference Privacy Policy (General Order 53).
15
              [__] Other (description):
16
17
     Dated: March 17, 2022                                Respectfully submitted,
18
                                                          NORA FRIMANN, City Attorney
19
20                                                        By:    /s/ Maren J. Clouse
                                                                 MAREN CLOUSE
21                                                               Chief Deputy City Attorney
22                                                        Attorneys for CITY OF SAN JOSE
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      MANUAL FILING NOTIFICATION                                               Case No. 5:18-cv-04826-BLF
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                                                                                                  1895786
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          Case 5:18-cv-04826-BLF Document 55-6 Filed 03/17/22 Page 3 of 3




1
                                         PROOF OF SERVICE
2
     CASE NAME:        DOMINGUEZ v. CITY OF SAN JOSE
3
     CASE NO.:         5:18-cv-04826-BLF
4
            I, the undersigned declare as follows:
5
           I am over 18 years of age and not a party to this action. My business address is
6    200 East Santa Clara Street, San Jose, California 95113-1905, and is located in the
     county where the service described below occurred.
7
            On March 17, 2022, I caused to be served the within:
8
         Exhibits 1-5 to Declaration of Keith Neumer ISO City of San Jose’s Motion for
9
                              Summary Judgment (Thumb Drive)
10
            by OVERNIGHT DELIVERY, with a copy of this declaration, by depositing them into
11          a sealed envelope/package, with delivery fees fully prepaid/provided for, and

12                        causing the envelope/package to be deposited for collection
                          causing the envelope/package to be delivered to an authorized courier
13                        or driver to receive the envelope/package

14          designated by the express service carrier for next day delivery.

15          I further declare that I am readily familiar with the business’ practice for collection and
            processing of correspondence for overnight delivery by an express courier service.
16          Such correspondence would be deposited with the express service or delivered to
            the authorized express service courier/driver to receive an envelope/package for the
17          express service that same day in the ordinary course of business.

18   Addressed as follows:

19    John Kevin Crowley                                Attorneys Plaintiff, Jessica Dominguez
      The Crowley Firm
20    125 South Market Street, Suite 1200
      San Jose, CA 95113
21    Phone Number: (408) 288-8100
      Fax Number: (408) 288-9409
22    Email: jkc@gedlaw.com
             mariela@gedlaw.com
23
24          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct. Executed on March 17, 2022, at San Jose, California.
25
26                                                      V. Burrow
27
28
29
     _______________________________________________________________________
30   PROOF OF SERVICE
31
